         Case: 1:21-cv-05219 Document #: 20 Filed: 08/03/22 Page 1 of 9 PageID #:143



                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION


    LATONYA JACKSON, individually and on
    behalf of all others similarly situated,

                    Plaintiff,                              Case No. 1:21-cv-05219
    v.
                                                            Hon. Charles R. Norgle
    KRAFT HEINZ FOODS COMPANY,

             Defendant.



                                                   ORDER

Defendant's motion to dismiss [11] is granted with prejudice. Civil case terminated.

                                               STATEMENT

            Plaintiff Latonya Jackson brings this putative class action against Defendant, Kraft Heinz

Foods Company. Defendant sells a product called "Bagel Bites" ("the Product"), frozen bite-size

pizza bagels containing mozzarella cheese and tomato sauce, among other ingredients. Dkt. I                  ,r 1.
Plaintiff claims the Product's label is misleading to consumers because it omits that (1) starch,

nonfat milk, and whey are added to the "REAL" mozzarella cheese, and (2) tomatoes are replaced

with non-tomato thickeners including cornstarch. Id. ,r 3. Plaintiff proposes an Illinois class and a

multi-state class, including all persons in the States of Iowa and Arkansas. 1 Id.              ,r 96.   Plaintiff

asserts the following claims individually and on behalf the proposed classes: (1) violations of the

Illinois Consumer Fraud and Deceptive Business Practices Act ("ICFA"), 815 ILCS 505/1, et seq.;

(2) violations of the Consumer Fraud Acts of the States in the Consumer Fraud Multi-State Class;

1
  The States in the proposed Consumer Fraud Multi-State Class are limited to those States with similar consumer
fraud laws: Iowa (Consumer Fraud and Private Right of Action for Consumer Frauds Act, Iowa Code Ann. § 714.16
et seq.) and Arkansas (Arkansas Deceptive Trade Practices Act, Ark. Code § 4-88-101, et. seq.). Dkt. 1 � 96, n.6.
    Case: 1:21-cv-05219 Document #: 20 Filed: 08/03/22 Page 2 of 9 PageID #:144




(3) breaches of express warranty, implied warranty of merchantability, and the Magnuson Moss

Warranty Act(“MMWA”), 15 U.S.C. § 2301, et seq.\ (4) negligent misrepresentation;(5) fraud;

and (6) unjust enrichment. Defendant moved to dismiss the complaint under Federal Rule of Civil

Procedure 12(b)(6). Dkt. 11. The Court notes this action is nearly identical to Lemke v. Kraft Heinz

Food Co.. No. 21-CV-278, 2022 WL 1442922 (W.D. Wis. May 6, 2022), which was decided by

Judge William M. Conley of the United Slates District Court for the Western District of Wisconsin

on a motion to dismiss presenting substantially the same arguments as those considered here.^

Because Plaintiff has not plausibly pleaded a deceptive act, the Court grants Defendant’s motion

and dismisses each count with prejudice.

                                              I. BACKGROUND

         Defendant manufactures, markets, and sells the Product with the following labeling:

                                                                  INGREDIENTS: BAGEL HALVES(ENRICHED
                                                                  ELOUR WHEAT ROUR.ENZYME.ASCORBIC
                                                                  ACIO.NIACINt     JCED IRON. THIAMINE;
                                                                  MONONITRATE, RIBOFLAVIN, FOLIC ACID],
                                                                 WATER,SALT,INVERT CANE SYRUR YEASTi
                                                                 SOYBEAN OIL) TOPPING (CHEESE BLENrf
                                                                 ^(CHEESE[MOZZARELLA CHEESE(CULTURED
                                                                  MILK, SALT. ENZYMES), MODIFIED FOOD
                                                                 STARCH, NONFAT MILK, WHEY PROTEIN
                                                                                    CHEDDAR CHEESE
                                                                 (CULTURED milk;'SALT, ENZYMES.ANNA1T0'
                                                                  COLOR), MONTEREY JACK CHEESE
                                                                 (CULTURED MILK.SALT. ENZYMES)])SAUCE
                                                                 (WATER. TOMATO PASTE. INVERT CANE
                                                                 Sm?, MODIFIED CORN STARCH. SALl
                                                                 MErHYLCELLULGSE,CITRIC ACID,POT^SiU#
                                                                 CHLORIDE. AMMONIUM CHLORIDE, SPICE,
                                                                 YEAST EXTRACT, NATURAL FLAVOR. CALCIUM^



Dkt. 1 fTI 1, 6. Plaintiff complains specifically about the Product’s label’s unambiguous description

of the product as “mini bagels with mozzarella, cheddar, Monterey Jack cheeses and tomato




- The Court notes further that the Western District of Wisconsin presumably has far more expertise in cheese and
what reasonable cheese consumers expect in cheese products.
                                                           2
   Case: 1:21-cv-05219 Document #: 20 Filed: 08/03/22 Page 3 of 9 PageID #:145



sauce. Id. ^ 1. Plaintiff theorizes that the label promises consumers three cheeses, but the


ingredient list shows they receive a "topping,” consisting of a “cheese blend,” cheddar cheese and

Monterey Jack cheese, id. ^ 6. The “cheese blend” includes mozzarella as an ingredient. Id

Plaintiff complains that though the Product contains mozzarella cheese, the front label omits that

it is combined with starch, nonfat milk, and whey to make a “cheese blend,” and these “cheaper,

filler” ingredients adulterate the cheese by reducing its milkfat. Id. Yl\ 13-14. Plaintiff theorizes

this omission is misleading because the “cheese blend” describes a lower quality, or imitation,

mozzarella cheese and claims “the ingredient list fails to disclose that the Product does not contain

mozzarella cheese.” Dkt. 1      7, 47-51. Plaintiff contends reasonable consumers do not expect

starch, whey, and nonfat milk when promised "mozzarella" and “REAL” cheese, but rather expect

mozzarella to mean cheese from milkfat. Id.      23-24, 42.

       Plaintiff challenges the Product’s label’s use of the “REAL” dairy seal, a trademark owned

by the National Milk Producers Federation (“NMPF”), which has a vetting process to authorize

use of the REAL to third parties. Id.    26-30, 34. In a small box in the upper-right-hand corner.

the Product’s front label (left) displays the REAL seal (right) with the words “MADE WITH”:

         Defendant’s Front Label                               REAL” Daii-v Seal




                                                 3
      Case: 1:21-cv-05219 Document #: 20 Filed: 08/03/22 Page 4 of 9 PageID #:146



Id. The REAL Seal can be used where a food contains dairy ingredients that meet federal standards


of identity. Id ^ 36. Plaintiff alleges the Product does not qualify for the traditional REAL seal

because the “cheese blend’' contains starch, but Defendant “misappropriated” the original REAL

Seal by adding the statement, “MADE WITH” the REAL Seal Id.                   39-40. Plaintiff alleges

nothing pertaining to NMPF’s stance on Defendant’s use of the REAL Seal. Plaintiff claims that

the use of the REAL seal misleads consumers as to the quality of the Product. Id. ^ 45.

         Plaintiff suggests it is misleading to call the Product’s tomato sauce, “tomato sauce,”

because it contains non-tomato thickening agents—specifically modified corn starch and

methylcellulose—designed to give the impression the sauce contains more tomatoes than it does.

Id.     55-65. Plaintiff suggests consumers of tomato sauce understand tomato sauce to be a tomato

product that is not as thick as tomato puree but thicker than tomato juice, with flavor enhanced

through herbs and spices. Id. % 55. The USDA defines tomato sauce as “the concentrated product

prepared from . . . whole tomatoes; [residue from preparing tomatoes for canning or from partial

extraction of juice]; reconstituted or remanufactured tomato paste; or any combination of these

ingredients to which is added salt and spices.” Id ^ 56. The Product’s “sauce” contains the

following ingredients: water, tomato paste, invert cane syrup, modified corn starch, salt.

methylcellulose, citric acid, potassium chloride, spice, yeast extract, natural flavor, and calcium

lactate. Id. H 6.

                                          II. STANDARD

         To survive a motion to dismiss under Rule 12(b)(6), the complaint must contain a “short

and plain statement of the claim showing that the pleader is entitled to relief” Fed. R. Civ. P. 8(a);

Bell Atlantic Corp. v. Twomblv, 550 U.S. 544, 554-557 (2007). The complaint “must provide

enough factual information to ‘state a claim to relief that is plausible on its face’ and ‘raise a right

                                                   4
   Case: 1:21-cv-05219 Document #: 20 Filed: 08/03/22 Page 5 of 9 PageID #:147



                                       ●>
lo relief above a speculative level.        Doe V. Village of Arlinaton Heights. 782 F.3d 911,914 (7th

Cir. 2015) (quoting Twomblv. 550 U.S. at 555, 570). “A claim has facial plausibility when the

plaintiff pleads factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Id (cleaned up). In reviewing the Plaintiffs claim.

the court must construe all of the plaintiffs factual allegations as true, drawing all reasonable

inferences in the plaintiffs favor. Virnich v. Vorwald. 664 F.3d 206, 212 (7th Cir. 2011).

                                              III. DISCUSSION

       Central to all of Plaintiff s claims is the notion that the Product's label misleads consumers


by representing that the Product contains ‘‘mozzarella cheese.           REAL cheese,” and “tomato

sauce,” but omitting that it contains additives. However, a product that says it contains mozzarella

cheese and tomato sauce when the Product does, in fact, contain mozzarella cheese and tomato

sauce is not misleading to the reasonable consumer simply because its label does not list its

additives. Weaver v. Champion Petfoods USA Inc                   3 F.4th 927, 937 (7th Cir. 2021)

(“[Defendant's] representations that its food is made with fresh regional ingredients are not clearly

misleading—its food does, in fact, contain some ingredients that are fresh and sourced

regionally.”). Plaintiffs ultimate theory of deception fails because Plaintiff has not plausibly

shown that the Product’s label would mislead a reasonable consumer of the Product and because


nothing about the Product's label is false, misleading, or deceptive as a matter of law. Ultimately,

the Court finds all of Plaintiff s claims, each based on the same misconceived theory of deception,

fail to plausibly state a claim upon which the Court may grant relief

   A. Illinois Consumer Fraud and Deceptive Business Practices Act

       The ICFA “protect[s] consumers . . . against fraud, unfair methods of competition, and

other unfair and deceptive business practices.” Robinson v. Toyota Motor Credit Corp.. 201 111.2d
                                                      5
   Case: 1:21-cv-05219 Document #: 20 Filed: 08/03/22 Page 6 of 9 PageID #:148




403 (2002). Deceptive or unfair practices include any “misrepresentation or the concealment,

suppression or omission of any material fact.’’ 815 ILCS 505/2. To survive a Rule 12(b)(6) motion,

plaintiffs bringing deceptive conduct claims under the ICFA must allege with particularity that the

“defendant committed a deceptive ... act with the intent that others rely on the deception, that the

act occurred in the course of trade or commerce, and that it caused actual damages.” Vanzant v.

Hill’s Pet Nutrition. Inc.. 934 F.3d 730, 736 (7th Cir. 2019)(citing Sicgal v. Shell Oil Co.. 612

F.3d 932, 934-35 (7th Cir. 2010)). Plaintiff must plausibly allege that the front labels likely lead a

significant portion of reasonable consumers to falsely believe something that the back labels belie.

Bell V. Publix Super Markets. Inc.. 982 F.3d 468, 476 (7th Cir. 2020). What matters most is how

real consumers understand and react to the advertising. Id.

       Although an ICFA claim may “involve disputed questions of fact not suitable to a motion

to dismiss, a court may dismiss the complaint if the challenged statement was not misleading as a

matter of law.” Iborrola v. Kind. LLC. 83 F. Supp. 3d 751 (N.D. 111. 2015)(citing Bober v. Glaxo

Wellcome PLC,246 F.3d 934,940(7th Cir. 2001)). A court may find a statement is not misleading

as a matter of law where plaintiffs claims are “fanciful interpretations of labels or other

advertising.” Bell. 982 F.3d at 477. A statement or label misleads when it conveys untrue

information about a product, or when, although literally true, it implies something that is false.

Bell. 982 F.3d at 479(cleaned up); see e.g.. Bober. 246 F.3d at 938 (statements claiming that drugs

were different medications were not deceptive because that claim was “completely true”).

       Here, Plaintiffs claims fail because she has not plausibly pleaded that Defendant

committed a deceptive act. Plaintiff challenges the label’s unambiguous description of the Product

                           *}●>   u
as containing “mozzarella.        ‘REAL” cheese, and “tomato sauce.” Dkt. 1     23-24, 55-65. These

statements are deceptive, in Plaintiffs view, because they omit that the Product’s cheese blend

                                                   6
   Case: 1:21-cv-05219 Document #: 20 Filed: 08/03/22 Page 7 of 9 PageID #:149




and sauce also contain additives and thickening agents. Omission of any material fact can

constitute deception. 815 ILCS 505/2; Bell, 982 F.3d at 479. However, while Plaintiff contends

reasonable consumers do not expect starch, whey, and nonfat milk when promised “mozzarella"

and “REAL” cheese (or thickening agents when promised “tomato sauce”), Plaintiff alleges

nothing of what reasonable consumers of the Product, i.e. Bagel Bites, expect. Dkt. 1             23-24,

55-65. Expectations differ when one purchases mozzarella cheese or tomato sauce alone, from

when one purchases a frozen bagel pizza snack. It seems that when purchasing “junk food” (or

 ■processed food,” to use Defendant’s term) like frozen pizza, the reasonable consumer would

expect at least some “junk’’ (or “processed”) ingredients. At the very least, any consumer would

at first glance of the Product know that it is not pure mozzarella cheese or tomato sauce, but a

frozen pizza bagel containing various other ingredients. To suggest that a reasonable consumer

expects pure {i.e. without additives) mozzarella or tomato sauce when buying a bite-size frozen

bagel pizza ignores the true nature of the product as a sum of pizza ingredients, including but not

limited to, mozzarella and tomato sauce. Weaver. 3 F.4th at 937 (“[Rjeferences to ingredients used

do not imply that ingredient is used exclusively.”). Such a suggestion is a fanciful interpretation

of the Product’s label that obfuscates who the real consumers are and how they would understand

and react to the label. Bell. 982 F.3d at 477. Plaintiff has not plausibly pleaded the front label likely

leads a significant portion of reasonable consumers to falsely believe something that the back label

belies. Id. at 476.

        Additionally, the Product contains, as its label suggests, mozzarella and tomato sauce (i.e.

a “product prepared from . . . tomato paste[.]”), and is in fact “made with ‘REAL’ cheese” {i.e. “a

food that contains dairy ingredients that meet federal standards of identity”). Dkt. 1        6, 30, 36,

55-56; ^ 21 CFR § 133.157. Presumably, NPMF, which vets and authorizes third-party use of

                                                   7
   Case: 1:21-cv-05219 Document #: 20 Filed: 08/03/22 Page 8 of 9 PageID #:150




its REAL Seal trademark, would have something to say were this not the case, but Plaintiff alleges

nothing in that regard. While “true statements can have misleading implications,” here, there is no

implication beyond what the unambiguous description of the Product on the label actually says—

that the Product contains mini bagels with mozzarella cheese (which is REAL cheese) and tomato

sauce. Kraft. Inc, v, F.T.C.. 970 F.2d 311, 322 (7th Cir. 1992)(enforcing FTC order to cease and

desist advertising campaign claims which deceptively implied that consumers received the same

amount of calcium contained in five ounces of milk by consuming product made with five ounces

of milk). Because nothing on the label is untrue or implies something false, it cannot mislead as a

matter of law. Bober. 246 F.3d at 938. Plaintiffs theory of deception is not plausible given (1) the

nature of the Product and the reasonable expectations of its consumers, and (2) because ofthe truth

of the statements on its label.

    B. Out-of-State Consumer Fraud Acts; Common Law, and MMWA claims.

       Plaintiffs claims for violations of out-of-state consumer fraud statutes; breach of express

warranty, implied warranty of merchantability, and MMWA; negligent misrepresentation; fraud;

and unjust enrichment are each premised on the same theory of deception as her ICFA claim. Dkt.

1^111 (“Defendant intended that Plaintiff and each of the other members of the Consumer Fraud

Multi-State Class would rely upon its deceptive conduct[.]”);        (“The Product. . . expressly

and impliedly warranted to plaintiff and class members that it contained mozzarella cheese,

without added fillers, and tomato sauce thickened by tomatoes.”);        124 (“Plaintiff and class

members reasonably       and justifiably   relied   on these   negligent misrepresentations and

omissions[.]”);^ 126(“Defendant misrepresented and/or omitted the attributes and qualities of the

Product, that it contained mozzarella cheese, without added fillers, and tomato sauce thickened by

tomatoes.”); y 130 (“Defendant obtained benefits and monies because the Product was not as
   Case: 1:21-cv-05219 Document #: 20 Filed: 08/03/22 Page 9 of 9 PageID #:151




represented and expecled[.]”)- Accordingly, because the Product’s labeling is not false,

misleading, or deceptive as a matter of law, Plaintiffs other claims also fail.^ Wach v. Prairie

Farms Dairy, Inc.. No. 21 C 2191,2022 WL 1591715, at *6 (N.D. III. May 19, 2022)(finding that

Plaintiffs common law and MMWA claims fail because they were premised on the incorrect

assertion that the Product’s labeling is false, deceptive, and misleading).

                                       IV. CONCLUSION


       Plaintiff has not plausibly alleged a significant portion of reasonable consumers of the

Product would be misled by the true and unambiguous statements on the Product’s label, and an

amendment to her pleadings cannot change that. Defendant’s motion to dismiss is granted with

prejudice.     Runnion ex rel. Runnion v. Girl Scouts of Greater Chicago and Northwest Indiana.

786 F.3d 510, 520 (7th Cir. 2015)(A district court should generally grant leave to amend a

complaint after granting a motion to dismiss unless any amendment would be futile.).




       IT IS SO ORDERED:                              ENTER:




                                                      CHARLES RONALD T)(ORGL^ Judge
                                                      United States District Court//

       DATE: August 3, 2022




                                                 9
